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Attorneys for Plaintiff, MCKAYLA MARONEY

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

MCKAYLA MARONEY, an
individual.

Plaintiff,
V.

MICHIGAN STATE UNIVERSITY, a
Michigan Entity of Form Unknown; and
UNITED STATES OLYMPIC
COMMITTEE, a Business Entity of
form unknown; USA GYMNASTICS,
an Indiana Business Entity of Form
Unknown; LARRY NASSAR, an
individual and DOES 1 through 500.

Defendants.

 

 

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TICE OF PLAINTIFF M

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YLA MARONEY

Civil Case No. 2:18:cv-03461-JLS-KESx
[The Honorable Josephine L Staton]

NOTICE OF PLAINTIFF
MCKAYLA MARONEY’S
OPPOSITION TO DEFENDANT
UNITED STATES OLYMPIC
COMMITTEE’S EX PARTE
APPLICATION FOR PROTECTIVE
ORDER PROHIBITING
PREMATURE DISCOVERY BY
PLAINTIFF AND QUASHING
EARLY DISCOVERY
PROPOUNDED BY PLAINTIFF;
MEMORANDUM OF POINTS AND
AUTHORITIES

Complaint filed: December 20, 2017
Judge: Honorable Karen E. Scott
Courtroom: 6D

PPOSITION T

DEFENDANT USOC’S EX PART BAPELICATION FOR PROTECTIVE

 
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1 TO THE COURT, ALL PARTIES AND TO THEIR ATTORNEYS OF

2 | RECORD:

3 PLEASE TAKE NOTICE that the Plaintiff MCKAYLA MARONEY
4 | (“Plaintiff) hereby files the instant Opposition to Defendant United States Olympic

5 | Committee’s (“USOC”) Ex Parte Application for Protective Order Prohibiting
6 | Premature Discovery by Plaintiff and Quashing Early Discovery Propounded by

7 | Plaintiff. The instant Opposition is based upon the following facts and legal

8 || argument, evidencing why this Ex Parte Application should be denied outright, and

9 | in toto:

10 1. Contrary to USOC’s position, when discovery is needed to resolve a
11 preliminary, jurisdictional question, discovery can be taken prior to the
12 setting of a Federal Rule of Civil Procedure 26(f) Conference. Myhre v.
13 Seventh-Day Adventist Church Reform Movement American Union Intern.
14 Missionary Soc. (S.D. Cal. 2014) 298 F.R.D. 633, 639(citing Cannon v.
15 Fortis Ins. Co., No. CIV-07-1145-F, 2007 WL 4246000, at *3, 2007
16 U.S. Dist. LEXIS 87880, at *8 (W.D.Okla. Nov. 29, 2007). As seen here,
17 just as in Orchid Biosciences, Inc. v. St. Louis University (S.D. Cal. 2001)
18 198 F.R.D. 670, 672, discovery is permitted to be served without leave of
19 court, to defend against attempts at dispositive jurisdictional motions;
20 2. The discovery propounded is intended solely to obtain jurisdictional
21 discovery, in defending against claims that USOC, a federally chartered
22 organization having one of its Olympic Training Centers in the State of
23 California for over 20 years, has no personal jurisdiction in California,
24 either as to specific or general jurisdiction. Clearly, this is a “colorable”
25 basis to seek jurisdictional discovery.
26 3. Notwithstanding the impropriety of the sanctions request by USOC’s
27 counsel, on its merits, the instant Request fails procedurally and under the
28 Due Process Clause, as they seek imposition of sanctions on an ex parte

—-NOTICE OF PLAINTIFF MCKAYLA MARONEY’S OPPOSITION TO
DEFENDANT USOC’S EX PARTE APPLICATION FOR PROTECTIVE

ORDER

 
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basis, where “[a]n ex parte application is usually considered on the papers

only.” See Honorable Karen E. Scott, Judge’s Procedures, #5. Moreover,

 

having served its request for such sanctions, only approximately a day and
a half prior to its due date of noon on August 2, 2018, this can hardly be
seen as comporting with Constitutional Due Process. See Satcorp Intern.
Group v. China Nat. Silk Import & Export Corp. (2d Cir. 1996) 101 F.3d
3, 6(“At the least, ‘due process requires ... that the delinquent party be
provided with notice of the possibility that sanctions will be imposed and
with an opportunity to present evidence or arguments against their

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imposition.’”) Moreover, USOC buries this sanction request on the 6"
page of a 7-page Memorandum of Points and Authorities, which is not
contained in the Notice of the Ex Parte Application, as required by Local

Rule.

. The instant Application should not be heard on an ex parte basis, as it

seeks widespread, substantive relief, and the Court’s own rules dictate
that: “[d]iscovery disputes should generally not be brought to the
Court’s attention in an ex parte application.” Honorable Karen E.
Scott, Judge’s Procedures, #5[emphasis added]. This is buttressed by
Local Rule 37-3, which provides, “[u|nless the Court in its discretion
otherwise allows, no discovery motions shall be filed or heard on an ex
parte basis, absent a showing of irreparable injury or prejudice not
attributable to the lack of diligence of the moving party.” This is an
important issue, on matters that directly affect a dispositive motion, that
should be set for a regular briefing schedule. Mr. Jolley’s declaration does
nothing to specify or articulate the irreparable harm or prejudice he seeks

to alleviate;

5. Irrespective of the grave Constitutional Due Process concerns for

imposing monetary sanctions against Plaintiff, (also, a victim of
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E OF PLAINTIFF M YLA MARONEY PPOSITION T

DEFENDANT USOC’S EX PARTE APPLICATION FOR PROTECTIVE

ORDER

 
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childhood sexual abuse), the request for monetary sanctions is meritless,
as the Plaintiff has clearly articulated why the jurisdictional discover is
proper, why the necessity of serving discovery before a Rule 26(f)
Conference was necessary, and the law (which is un-contradicted by
USOC with any other authority) which supports propounding
jurisdictional discovery before such a Rule 26(f) Conference.

This Opposition is grounded in this notice, the attached Memorandum of
Points and Authorities, the Declaration of Alex E. Cunny and exhibits attached
thereto, the records and files in this action, and upon such further evidence and
argument as may be presented prior to or at the time of hearing on the Application.

ALDI

Dated: August 2, 2018 MANLY, STEWART & E

   

 

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MEMORANDUM OF POINTS AND AUTHORITIES
I. INTRODUCTION

Defendant United States Olympic Committee (“USOC”) seeks to prohibit the
Plaintiff from defending against dispositive jurisdictional challenges and ultimately,
to get her case dismissed without affording her any opportunity for jurisdictional
discovery. In denying any the existence of any basis for personal jurisdictional in
California, USOC, a federally chartered organization with an Olympic Training
Center in Chula Vista, California and having held numerous events throughout the
years in California, disclaims that there was either personal or specific jurisdiction.
USOC even goes so far as stating that any claims of such are not even “colorable.”
This analysis of jurisdictional discovery is untenably narrow, a distortion of the
operative facts in the case, and ultimately, based on ill-founded grounds; all done in
order to prevent USOC from having to have its agents and employees sit for
truncated depositions and produce documents, evidencing their contacts with
California. Moreover, in attempting to dodge the clear authority allowing a party to
unilaterally serve discovery with impending jurisdictional motions, USOC offers no
authority contradicting these cases. While USOC attempts to claim, in the
alternative, that even if jurisdictional discovery is sought, it is overbroad, this
alternate scenario was never discussed in meet-and-confer attempts, and is simply a
fallback position for USOC based on pure speculation. USOC characterizes
Plaintiff's discovery as “premature” which underscores the Plaintiff's position;
USOC is simply refusing to submit to discovery because it doesn’t want the
Plaintiff to have access to the critical information that is necessary to oppose
USOC’s Motion to Dismiss.

In ending its Application, USOC buries a request for monetary sanctions,
pursuant to Rule 37, on the second to last page, in an attempt to lure the Court into
sanctioning the Plaintiff, ex parte, without a hearing and with only approximately a

day and a half to draft a response. Notwithstanding the Due Process violation, the

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USOC’S EX PARTE APPLICATION FOR PROTECTIVE ORDER

 
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sanctions request is also infirm on its merits, as the discovery sought is relevant to
the jurisdictional inquiry. Plaintiff respectfully requests that the Court deny this Ex
Parte Application, deny the request for sanctions, and permit jurisdictional
discovery to proceed.

A. FACTUAL BACKGROUND

The Plaintiff is a victim of childhood sexual abuse suffered by Defendant
Larry Nassar (“Nassar”), who was alleged to have been an employee and agent of
numerous named defendants, including USOC. See Complaint, {[{1,8-18,30,
attached as Exhibit “A” to Declaration of Alex E. Cunny (“DAC”). The Plaintiff, as
a world-class gymnast and an Olympic Gold Medalist, was repeatedly sexually
assaulted and abused by her team doctor, under the guise of legitimate medical
treatment. /d. at 1. The Plaintiff came forward after Nassar’s abuse was publicly
unmasked in September of 2016 and disclosed that she had been the victim of
Nassar’s repeated sexual molestations and abuse. /d. at ¥1.

USOC is a federally-charted organization that exists under the Ted Stevens
Amateur Sports Act. See 36 U.S.C. §§220501, et seg. From approximately 1995
through 2017, USOC is believed to have owned and operated one of three Olympic
training centers in the nation, in Chula Vista, California (just outside of San Diego);
it is believed that ownership changed in 2017, though the facility is still utilized as
an Olympic Training facility. See Website Printout of Chula Vista Elite Athlete
Training Center, attached as Exhibit “B” to DAC. In having this training center
located in California during the duration of most, if not all of the Plaintiff's abuse
(and the abuse of those in the Included Actions), USOC similarly has partnered
with the StubHub Center in Carson, California, which is the “home track” to “an
Official U.S. Olympic Training Site.’ VELO Sports Center Website, attached as
Exhibit “C” to DAC. Moreover, USOC’s own website advertises the availability of
employment in, specifically, California, and represents that it has over 375

employees “from California to Colorado to New York...” TeamUSA.org, “Careers”

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PLAINTIFF M Y¥LA MARONEY PPOSITION TO DEFENDANT
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Tab, attached as Exhibit “D” to DAC. As such, this alone justifies a “colorable”
claim to conduct jurisdictional discovery on “general jurisdiction”.

USOC has hosted countless events in California, including Olympics (1984,
and coming in 2028), Olympic Trials for various sports, including Gymnastics
(2012, 2016) and numerous other events. As alleged, abuse occurred at events
where USOC was supposed to be supervising, protecting, and preventing the
occurrence of sexual abuse, including abuse by Nassar. Understanding the
involvement of USOC’s agents in controlling these events, controlling these
employees/agents, and conducting business activities within California, is all
relevant to the “specific jurisdiction” analysis, for which Plaintiff has no other
means to obtain discovery. Indeed, as seen infra, despite jurisdictional discovery
having proceeded in Jane JD Doe and Jane LM Doe already, none of it was
directed at USOC’s contacts with California.

B. PROCEDURAL BACKGROUND TO THIS APPLICATION

On April 25, 2018, USOC filed a Notice of Removal of this Action. See
Notice of Removal, attached as Exhibit “E” to DAC. Subsequently, USOC filed a
Motion to Dismiss on Friday, July 20, 2018, claiming that there was no personal
jurisdiction as to USOC in California, either “specific” or “general.” See generally

Motion to Dismiss, USOC.! As initially filed, the hearing date on this matter was

 

set for September 14, 2018, making the Plaintiff's Opposition due on August 24,
2018. Understanding the limited time available to oppose these Motions, and gather
evidence necessary for such, Plaintiff's counsel quickly served sets of written
discovery, the following Wednesday, July 25, 2018, for Interrogatories, Requests

for Admissions, and for Request for Production of Documents, to USOC. See Ex

 

' Defendant USOC filed very similar motions in the matters of Jane PCNE Doe,
Jane JD Doe, Aly Raisman, Jane LM Doe, and Jordyn Wieber, which all address
the same general issues of Personal Jurisdiction and substantive challenges to the
Complaint. Prior to filing the Motions to Dismiss in those actions, the parties met-
and-conferred on those cases largely collectively, as they did involve the same, or
very similar, issues.

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PLAINTIFF M YLA MARONEY PPOSITION TO DEFENDANT
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Parte Application, Decl. of Jolley, 4, Exs. “10-12”. Moreover, Plaintiffs cross-
noticed the depositions that were set in the Coordinated Proceeding (discussed
below), such that repetitive depositions need not be conducted in these actions
which share common witnesses, facts, and issues. Discovery in the Jane AJ Doe
matter is proceeding in the Coordinated Action and in an effort to not have to re-
depose the same individuals in the removed Federal Actions, Plaintiff's counsel
cross-noticed those depositions. DAC, 43. Finally, on July 25, 2018, Plaintiffs
counsel requested USOC provide depositions of ten (10) individuals at the
organization, for all of the Included Actions, to be taken on jurisdictional matters.
See E-mail Correspondence Between Mr. Jolley and Mr. Finaldi, attached as
Exhibit “F” to DAC.

Upon receiving the Motion to Dismiss from USOC, Plaintiff had a little over
a month to obtain the discovery necessary to defend against this Motion, thus, it

was imperative such discovery be served immediately. This was explained in the

 

meet-and-confer between Mr. Jolley and Mr. Finaldi. See E-mail Correspondence

Between Mr. Jolley and Mr. Finaldi, Ex. “F”. At no point did Mr. Jolley attempt to

 

meet-and-confer about limiting the scope of discovery. Jd. The only meet-and-
confer that occurred was a unilateral demand that all discovery be halted.

1. History of Jurisdictional Discovery in the Included Actions.

Prior to this case being removed, it was proceeding in the Superior Court of
California, in and for the County of Los Angeles though was not in the
“Coordination” Proceeding under California Code of Civil Procedure §404, et seq.
in the department of the Honorable Judge Randal Sherman. DAC, 9/4. As it stands
in that matter, discovery was ordered to proceed on jurisdictional issues that have
been raised by Defendants in that action (though Defendant USA Gymnastics
(“USAG’”) in that action has subsequently withdrawn its jurisdictional challenge).
DAG, 5.

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PLAINTIFF M YLA MARONEY PPOSITION TO DEFENDANT
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of California. DAC, §6. Once the Coordinated Proceeding was established,
jurisdictional discovery was halted in the Jane JD Doe and Jane LM Doe matters,
as well as all other “Included Actions.”” Jd. Despite discovery having proceeded in
those actions, no discovery was ever conducted as to USOC’s contacts with
California, as they were not joined and served as a defendant, until later on. In fact,
the Plaintiff's counsel previously agreed with USOC’s former counsel, Mr. Brent
Rychener of Bryan Cave, to have two (2) individuals produced from USOC, for
their depositions, as it pertained to the jurisdictional issues in the Coordinated
Action, prior to USOC being named as a defendant. DAC, {7.

Nevertheless, despite having two (2) courts already permit jurisdictional as to
other defendants and discovery actually proceeding on those jurisdictional issues,
USOC has refused to allow any discovery and seeks to hurry the Motion to Dismiss
to hearing. Given the clear import of this case, and the consequences for the
Plaintiff in the result of this Motion to Dismiss, discovery is necessary to ferret out

these factual issues as to jurisdiction.

2. Submission of USAG To Personal Jurisdiction and Other Pending
Jurisdictional Challenges.

Approximately a day after requesting the depositions of USOC employees
(or former employees/agents), USAG submitted to personal jurisdiction inv arious
related matters. Nevertheless, several jurisdictional challenges remained in this
Action, including from USOC, DOES 7, 8, and 9 in the Jane AJ Doe and Jane LM
Doe Actions, Steve Penny in the Jane LM Doe Action, and, of course, USOC in

 

* The “Included Actions”, at the time the Petition for Coordination was made, refers
to the following six (6) actions that were pending: Jane JD Doe (Sacramento
County, Case No. 34-2016-00200075); Tiffany Thomas Lopez (Los Angeles
County, Case No. BC644417); Jane AJ Doe (Orange County, Case No. 30-2017-
00899357-CU-PO-CJC); Jane PNCE Doe and John PCNM Doe (Los Angeles
County, Case No. BC667053); Jane HC Doe (Orange County, Case No. 30-2017-
00926883-CU-PO-CJC), and Jane LM Doe (Los Angeles, Case No. BC638724).
Collectively, these actions shall be referred to as the “Included Actions.” The action
of McKayla Maroney, Aly Raisman, and Jordyn Wieber were going to have “Add-
On” Motions filed for the Coordination, but were removed prior to that being
accomplished.

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this and several other actions. As such, numerous defendants in separate, similar
actions, continue to seek dismissal of this matter, as to personal jurisdiction. Thus,
the discovery sought is not all directly relevant to USOC’s jurisdictional inquiry,
but is relevant to other jurisdictional inquiries for other defendants.
C. SERVICE OF THIS EX PARTE APPLICATION.

On July 31, 2018 at 7:47 p.m., USOC served its Ex Parte Application via

electronic service on Plaintiff's counsel. See E-mail Notification of Ex Parte

 

Service, attached as Exhibit “G” to DAC. In light of the timing of the service of this
Ex Parte Applicable, Plaintiff's counsel had until 12:00 p.m. on August 2, 2018, in
order to draft, file and prepare this Opposition. See Honorable Karen E. Scott,

 

Judge’s Procedures, #5. In total, this afforded approximately a day and a half to

oppose the Application.

i. ARGUMENT

A. SURISDIC ONAL DISCOVERY 1S eR MTTED TO" BE SERVED
DISPO V MOTION AND H TREN V
CONSTRAINTS FOR OBTAINING SUCH INFORMATION.

Generally speaking, discovery in a Federal matter can only proceed once a
Federal Rule of Civil Procedure 26(f) scheduling conference has occurred, or by
order or stipulation. See FRCP 26(d)(1)(“‘ A party may not seek discovery from any
source before the parties have conferred as required by Rule 26(f), except in a
proceeding exempted from initial disclosure under Rule 26(a)(1)(B), or when
authorized by these rules, by stipulation, or by court order.”) While this is the
general rule pertaining to merits-based discovery, as evidenced by the nature of the
Rule 26(f) conference (“[i]n conferring, the parties must consider the nature and

basis of their claims and defenses and the possibilities for promptly settling or

 

resolving the case; make or arrange for the disclosures required by Rule 26(a)(1);
discuss any issues about preserving discoverable information; and develop a

proposed discovery plan.”), Courts have recognized situations where jurisdictional

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challenges have been raised, prior to the contemplation of such a Rule 26(f)
conference.

In Orchid Biosciences, Inc. v. St. Louis University (S.D. Cal. 2001) 198
F.R.D. 670, the court held that when a party propounded discovery, right after a
Motion to Dismiss for Lack of Personal Jurisdiction was filed, that the discovery
could proceed. In Orchid, the Court recites its procedural history succinctly, as it

relates to the instant issues:

“On September 13, 2000, Defendant filed a motion to dismiss for lack
of personal jurisdiction, or, in the alternative, to transfer the case to
the United States District Court for the Eastern District of Missouri.
.... This motion is presently scheduled to be heard by the Honorable
M. James Lorenz, United States District Judge, on January 16, 2001.

On or about October 2, 2000, Plaintiff served Defendant with a

request for production of documents, and a notice of taking deposition

of Defendant through its designated personnel. Defendant filed the

instant motion seeking an order from this Court protecting or limiting

the responses it must provide to Plaintiff's discovery requests.”

Orchid Biosciences, Inc. (S.D. Cal. 2001) 198 F.R.D. at 672.

In Orchid, the procedural posture was set identically to the instant matter,
wherein a Motion to Dismiss for Lack of Personal Jurisdiction was filed, and the
party defending the Motion served discovery almost immediately thereafter
(approximately two and a half weeks after service of the Motion). Jd. at 671-72. In
Orchid, the hearing was set a little over three (3) months after the Motion was filed.
Id. Seemingly, despite having had no Rule 26(f) Conference (as none was
mentioned in the opinion), the Court went straight into whether there was a
“colorable basis” for jurisdictional discovery to be conducted. Jd at 673.

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Ultimately, the Court found that the, “[t]lo defeat the discovery sought here,
Defendant must meet the relatively high burden of establishing that ‘it is clear that
further discovery would not demonstrate facts sufficient to constitute a basis for
jurisdiction.’” Id. at 674(citing Wells Fargo & Co. v. Wells Fargo Exp. Co. (9th
Cir. 1977) 556 F.2d 406, 430). Irrespective of the merits of the colorable showing
in Orchid, the Court clearly permitted the unilaterally served discovery to proceed,
over objection, as it pertained directly to the jurisdictional inquiry.

This sentiment has been reiterated. In Myhre v. Seventh-Day Adventist
Church Reform Movement American Union Intern. Missionary Soc. (S.D. Cal.
2014) 298 F.R.D. 633, the plaintiff brought an action against his former employer, a
church, for various causes of action including breach of contract, conversion, civil
conspiracy, and other causes of action. /d. at 635. In doing so, the defendant
brought a motion to dismiss, under Rule 12(b)(1)-lack of subject matter
jurisdiction, stating that there was no diversity jurisdiction. /d. 636-37. The plaintiff
added five defendants to the complaint. Jd. In moving to compel discovery, after
propounding discovery on each of the now-seven (7) defendants, the plaintiff
acknowledged that it had only conducted a Rule 26(f) with the “...original two
defendants...” Jd. at 639. Nevertheless, the Court held that, “[t]hese facts will not
excuse the Defendants from responding to discovery.” Id. at 639. The Court held
that, “[flirst, there is authority that ‘[n]o Rule 26(f) [conference], discovery plan or
status conference is required in order to conduct discovery for the jurisdictional
inquiry.’ [citation omitted] Second, a separate provision, Rule 26(d)(1), governs the
commencement of discovery. ‘A party may not seek discovery from any source
before the parties have conferred as required by Rule 26(f), except ... when
authorized by these rules, by stipulation, or by court order.’ Id. The court then
stated that the parties had already agreed to a discovery schedule, giving the party
seeking discovery to have “sufficient discovery to prepare his opposition.” The

Court ultimately found that, “Defendants' contention that jurisdictional discovery is

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precluded because a Rule 26(f) conference has not taken place with new
Defendants is not well taken.” Jd.

Finally, in Cannon v. Fortis Ins. Co. (W.D. Okla., Nov. 29, 2007, No. CIV-
07-1145-F) 2007 WL 4246000, at *2, a plaintiff filed a motion to remand, based on
an amended petition that alleged a different basis of his negligence claims. The
defendant claimed that this was the product of fraudulent joinder, such that the
defendant had a right to take jurisdictional discovery, prior to opposing the Motion
to Remand. /d. at *2. In opposing this request for discovery, the plaintiff claimed
that since no Rule 26(f) conference had occurred, no discovery could proceed on
these jurisdictional issues. Id. (“[plaintiff] contends that Time's request would
require a F ed.R.CivP. 26(f) conference...”) In response, defendant stated that, “[i]t
is not seeking to conduct discovery on the merits of all of plaintiff's claims.” Id.
The Court held that:“...No Rule 26(f), discovery plan or status conference is
required in order to conduct discovery for the jurisdictional inquiry. Jd. at
*3[emphasis added].

USOC has confronted the issue of personal jurisdiction, and seeks dismissal
of the Plaintiff's claims, on the basis that there is no “specific” or “general”
jurisdiction in California. See generally Motion to Dismiss. In attempting to get
around the holdings of Orchid, Myhre, and Cannon, USOC fails to provide any
authority that disputes the right of a party to conduct jurisdictional discovery
(whether it be for fraudulent joinder, or lack of personal jurisdiction.) All of these
cases hold that a jurisdictional inquiry is treated differently than a merits-based
inquiry into discovery, especially considering that the plain language of Rule 26(f)
has the parties discussing the merits of their respective cases (defenses and claims).
“Tn granting discovery, the trial court is vested with broad discretion and will not be
reversed except upon the clearest showing that denial of discovery results in actual

and substantial prejudice to the complaining litigant.” Data Disc, Inc. v. Systems

Technology Associates, Inc. (9th Cir. 1977) 557 F.2d 1280, 1285. USOC’s

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proposition that a Rule 26(f) must occur prior to any discovery (for jurisdictional
discovery) is simply unfounded by the case law, as there are situations where such

is permitted. This is one of them:

1. The Plaintiff Only Seeks Jurisdictional Discovery, Not Merits-
Based Discovery.

USOC’s Application is filled with speculation as to the nature of discovery
that has been sought, and the scope of such. USOC is quick to attempt to distill the
intent of Plaintiffs’ counsel, in effectively impugning this discovery as a rouse to

get merits-based discovery. Ex Parte Application, p.5:15-35. The assertion is as

 

baseless as it is unfounded. At the threshold, USOC never sought to meet-and-

confer to limit the extent of the requested discovery, nor sought the basis for why

 

each deposition was necessary. See E-mail Between Mr. Jolley and Mr. Finaldi, Ex.
“F”. Instead, USOC sought a blanket withdrawal of all discovery. Id. USOC’s “all
or nothing” approach both violates the propriety of any alternative limited order it
seeks for discovery (pursuant to Local Rule 7-3), but more importantly, ignores all
of the reasons that the discovery is, in fact, warranted:

First, the discovery sought by Plaintiffs’ counsel is not exclusively directed at
USOC. There are numerous defendants in the Included Actions that challenge
personal jurisdiction (though USAG has recently rescinded this challenge). See
supra Section I(B)(2). The reason “cross-notices” were filed in the Federal Actions
was to ensure that all parties had notice of these depositions that were proceeding in
the Superior Court matter (for which jurisdictional discovery was ordered to
proceed), such that those could be used in the Federal Actions against the various
pending challenges to jurisdiction. Just because the deposition was noticed, does
not mean it only pertains to USOC’s. Indeed, the broad brush that USOC paints
with does not come close to explaining the relevance of each witness, as to each

issue, as to each challenging defendant.

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Secondly, the depositions sought relate to varying timeframes, for the
varying Plaintiffs’ abuse by Nassar. The Plaintiff's abuse occurred at a different
time than most of the other Plaintiffs, so that changes the analysis as to her personal
jurisdiction inquiry. Some of the Plaintiffs were abused well into the 2010’s, while
others were abused before 2000. Again, that is going to affect the analysis. The
reason these matters were consolidated in a single courtroom, via the Coordination,
was to consolidate discovery matters, focus issues, and limit successive discovery.
Moreover, USOC’s minimum contacts with California involve a substantial amount
of information from numerous individuals who had contacts with California, who
directed the operations of USOC in California, and who can attest to the intra- and
interstate business that USOC conducted in the California. USOC seeks blanket
relief, on complex issues of fact raised by that Motion to Dismiss, without affording
Plaintiff opportunity to rebut those assertions. For these reasons, both California
Courts permitted jurisdictional discovery.

Thus, Plaintiff has noticed the depositions and sought discovery that pertain

to USOC’s contacts in California, not merits-based discovery.

B. JURISDICTIONAL DISCOVERY IS WARRANTED BECAUSE USOC
IS CHALLENGING SPECIFIC AND GENERAL JURISDICTION.

The Supreme Court has stated that where issues arise as to personal

 

 

jurisdiction, “discovery is available to ascertain the facts bearing on. such issues.”
See Oppenheimer Fund, Inc. v. Sanders (1978) 437 U.S. 340, 351 n.13. Where a
defendant files a motion to dismiss on jurisdictional grounds, the court may
continue the hearing to permit discovery which speaks to issues of specific or
general jurisdiction, including facts related to a defendant's “contacts” with the
forum state. See Orchid Biosciences, Inc. v. St. Louis Univ. (SD CA 2001) 198
FRD 670, 672-673; Repwest Ins.Co. v. Praetorian Ins. Co. (D AZ 2012) 890
F.Supp.2d 1168, 1184. To allow such discovery here, Plaintiff need only make a

“colorable or prima facie showing of personal jurisdiction.” Central States,

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Southeast & Southwest Areas Pension Fund v. Reimer Express World Corp. (7th
Cir. 2000) 230 F3d 934, 946; Frontera Resources Azerbaijan Corp. v. State Oil Co.
of Azerbaijan Republic (2nd Cir. 2009) 582 F3d 393, 401. It is not necessary for the
Plaintiff to prove personal jurisdiction in order to justify jurisdictional discovery.
Moreover, Plaintiff even has the right to conduct personal jurisdictional discovery
to fill in any gaps of allegations in the complaint, or to address Defendant's
supporting declaration. Harris Rutsky & Co. Ins. Services, Inc. v. Bell & Clements
Ltd. (9th Cir. 2003) 328 F.3d 1122, 1135; Data Disc, Inc. v. Systems Technology
Assoc., Inc., (9™ Cir. 1977) 557 F.2d 1280, 1285 & n.1, 1289 & n.6.

Defendant, here, will undoubtedly counter that when an opposing party
merely offers “speculation or conclusory assertions about contacts with a forum
state,” the court may deny the discovery request. Carefirst of Maryland, Inc. v.
Carefirst Pregnancy Ctrs., Inc. (4th Cir. 2003) 334 F3d 390, 402-403; Pebble
Beach Co. v. Caddy (9th Cir. 2006) 453 F3d 1151, 1160. They will also counter
that discovery would be “futile” because a lack of personal jurisdiction can be
determined, at this time, as a matter of law. Id.; Martinez v. Aero Caribbean (9th
Cir. 2014) 764 F3d 1062, 1071. However, the courts are actually split on whether,
here, Plaintiff must establish a prima facie case of jurisdiction before being entitled
to discovery on such. 72 Global Communications, Inc. v. Vitelity Communications,
LLC (C.D. Cal. 2012) 2012 WL 1229851, *3-*4 (‘This “colorable” showing should
be understood as something less than a prima facie showing, and could be equated
as requiring the plaintiff to come forward with “some evidence” tending to establish
personal jurisdiction over the defendant.'); Walk Haydel & Assocs., Inc. v. Coastal
Power Production Co. (Sth Cir. 2008) 517 F3d 235, 242—prima facie showing not
required; Viasystems, Inc. v. EBM-Papst St. Georgen GmbH & Co., KG (8th Cir.
2011) 646 F3d 589, 598 (same); but see Medical Solutions, Inc. v. C Change
Surgical LLC (Fed. Cir. 2008) 541 F3d 1136, 1142 (contra) (prima facie showing of

jurisdiction required before jurisdictional discovery allowed); Ellis v. Fortune Seas,

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Ltd. (SD IN 1997) 175 FRD 308, 312 (same). Either way, ruling on the issue lies
within the sound discretion of the Court, and here, the facts lay in favor of allowing
jurisdictional discovery as to Defendant. Plaintiff most certainly meets the burden
of a “colorable” or “prima facie showing of personal jurisdiction against
Defendant—if not under general jurisdiction, most certainly under specific
jurisdiction.

But for the availability of jurisdictional discovery, Defendant could easily
defeat Plaintiff's claim for jurisdiction with their declaration, regardless of whether
the statements therein are actually true, correct, complete or non-misleading. See
The Rutter Group, California Practice Guide: Federal Civil Procedure Before
Trial, Chapter 9, D., Motions to Dismiss (Rule 12(b)), [9:111]. This right should be
self-evident where, as here, the discovery is directed to defendant's activities and
thus requests information within defendant's control. See, e.g., Geoffrey, Toys "R"
Us, Inc. v. Step Two, S.A. (3d Cir. 2003) 318 F.3d 446, 455-58 (reversal of
dismissal on personal jurisdiction on the grounds that court improperly denied
plaintiff's right to conduct jurisdictional discovery against defendant on intent and
activities under “effects” test and Rule 4(k)(2).).

Here, Defendant has transacted substantial business in California for many,
many years. One of only three national training centers owned and operated by
Defendant is a 150-acre campus located in Chula Vista, California, and has been
since 1995. Website Printout of Chula Vista Elite Athlete Training Center, Ex. “B”.
Also, Defendant maintains a training site in Carson, CA, for its cycling program,

and holds training, competitions, and classes there. VELO Sports Center Website,

 

Ex. “C”. USOC’s own website advertises the availability of employment in,
specifically, California, and represents that it has over 375 employees “from
California to Colorado to New York...” Defendant may argue that evidence
obtained from its website is inadmissible and only supports Plaintiff's “hunch” and

speculation as to jurisdiction, which do not carry the day when it comes to

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justifying discovery. However, in Nuance Communications, Inc. v. Abbyy Software
House, (Fed. Cir. 2010) 626 F.3d 1222, 1236, r. 2010, the appellate court held the
trial court erred in dismissing a matter on personal jurisdiction grounds without
allowing jurisdictional discovery, stating “Nuance's request for jurisdictional
discovery is not ‘based on a mere hunch.’ Rather, the request is supported by, inter
alia, Abbyy Software's website and the Trade Secret Magazine article, which
suggest that Abbyy Software controls the actions of its subsidiaries. Although the
proffered documents may be insufficient in themselves to establish a prima face
case, this incomplete record nevertheless supports the need for additional discovery
to determine the merits of personal jurisdiction over Abbyy Software.” See also
Patent Rights Protection Group, LLC v. Video Gaming Technologies, Inc., (Fed.
Cir. 2010) 603 F.3d 1364, 1372 (court erred in denying jurisdictional discovery
where the plaintiff presented a declaration showing acts in forum while attending
trade shows, stating “Patent Rights' request for jurisdictional discovery is not based
on a mere hunch; rather, the request is supported [by a declaration stating facts
regarding the trade show and although the defendants] each take issue with [the]
declaration, neither company denies attending this trade show and exhibiting

gaming products while there.”

C. THE REQUEST FOR SANCTIONS IS INFIRM FOR SEVERAL
REASONS.

In the depths of USOC’s Application lies a request for sanctions in the
estimated amount of $6,920.00 against Plaintiff and/or her counsel.* The apologetic
request made by USOC suffers from numerous infirmities, including failing to
comport with Due Process. Most importantly, is that sanctions are simply not

warranted against Plaintiff or her counsel on the merits:

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> It is unclear who this request is against, as at one point, it seeks sanctions against
“Plaintiff's counsel” (Ex Parte, 6:1), but at another, seeks sanctions for the conduct
of the Plaintiff (“...Plaintiff’s position is not substantially justified...”; Jd. at 6:18.)

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1. The Request For Monetary Sanctions Fails for Due Process Reasons.

USOC seeks sanctions from the Plaintiff on an ex parte, despite the fact that
the Judge’s Procedures state, “[a]n ex parte application is usually considered on the
papers only.” See Honorable Karen E. Scott, Judge’s Procedures, #5. The discovery
sanctions sought under Rule 37 are in a “discovery motion” for which the Court’s

own rules discourage filing as an ex parte Application. Honorable Karen E. Scott,

 

Judge’s Procedures, #5(“[d]iscovery disputes should generally not be brought to the
Court’s attention in an ex parte application.”)

Under Due Process, a party is afforded notice and a hearing when their rights
are to be impaired. Boddie v. Connecticut (1971) 401 U.S. 371, 377(“Prior cases
establish, first, that due process requires, at a minimum, that absent a countervailing
state interest of overriding significance, persons forced to settle their claims of right
and duty through the judicial process must be given a meaningful opportunity to be
heard.”) “But when notice is a person's due, process which is a mere gesture is not
due process.” Mullane v. Central Hanover Bank & Trust Co. (1950) 339 U.S. 306,
315. Specifically as to sanctions, “[a]t the least, ‘due process requires ... that the
delinquent party be provided with notice of the possibility that sanctions will be
imposed and with an opportunity to present evidence or arguments against their
imposition.’” Satcorp Intern. Group v. China Nat. Silk Import & Export Corp. (2d
Cir. 1996) 101 F.3d 3, 6; see also Alliance Bank v. Murray (1984) 161 Cal. App. 3d
1, 6.

USOC’s sanctions request violates the Local Rules of the Central District
which require that, “the notice of motion shall contain a concise statement of the
relief or Court action the movant seeks.” Central District of California, Local
Rule 7-4[emphasis added]. Monetary sanctions are relief, and after examination of
the Notice of Ex Parte Application, there is no indication that such relief is sought
or as to whom such sanctions are sought. While the intent of USOC may have been

to “slip in” this request at the end of their Application, such that the Court would

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grant as an afterthought, or as part and parcel of its bluster to Plaintiff and her
counsel to promise “fire and brimstone” to a young woman who had the audacity to
stand up against this organization, it’s request is rendered irrelevant its
constitutional infirmities. In seeking money from the Plaintiff or her counsel,
USOC should be more acutely aware of the procedural requirements for such.* This

sanctions request does not satisfy Due Process.

2. The Request for Monetary Sanctions Fails For Several Reasons.

Notwithstanding the procedural infirmities of the sanctions request, the
Application should be denied in toto, and sanctions should not be imposed. See
FRCP 37(a\(5)(B)CTf the Motion Is Denied. If the motion is denied, the court may
issue any protective order authorized under Rule 26(c) and must, after giving an
opportunity to be heard, require the movant, the attorney filing the motion, or both
to pay the party or deponent who opposed the motion its reasonable expenses
incurred in opposing the motion, including attorney's fees.”) Based on the
authorities setout as to the substance of this Opposition, and evidence produced in
support thereof, the Application should be denied on its merits and no sanctions
should be imposed. Indeed, the reason no counter-request has been made, is in light
of severe Due Process concerns of such on an ex parte.

Even if the Application is granted, sanctions would not be warranted, as the
Plaintiff and her counsel have acted with substantial justification in attempting to
obtain discovery relevant to the jurisdictional Motions. See DAC, §]3-7; Cannon
(W.D. Okla., Nov. 29, 2007, No. CIV-07-1145-F) 2007 WL 4246000, at *2; Orchid
Biosciences, Inc. (S.D. Cal. 2001) 198 F.R.D. 670; Myhre (S.D. Cal. 2014) 298
F.R.D. 633. Even if the Court granted the Application, sanctions would not be
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+ Though rendered irrelevant via the Due Process Clauses of the Federal
Constitution, the amount of time necessary to draft the seven (7) page Application,
by an attorney who proclaims to charge over $800 per hour, seems excessive, as
Plaintiff s counsel drafted the instant, more thorough motion, in less than the 8
hours attested to by Defendant USOC’s counsel.

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warranted given the Plaintiff reasonably relied on these cases, and had exigent
circumstances for serving discovery, in light of the numerous pending motions.
Wi. CONCLUSION
The Plaintiff respectfully requests that the Court deny the Application, as it
fails to provide an adequate basis as to deny jurisdictional discovery. Moreover, the

sanctions request is procedurally and substantively infirm, and should be denied.

Dated: August 2, 2018

 

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